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    IT IS ORDERED as set forth below:



    Date: November 16, 2015
                                                        _________________________________

                                                                  Paul W. Bonapfel
                                                            U.S. Bankruptcy Court Judge
  _______________________________________________________________


                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                         :      CHAPTER 11
                                               :
HP/ SUPERIOR, INC. and SUPERIOR                :      CASE NO. 14-71797 - PWB
HEALTHCARE INVESTORS, INC.,                    :      CASE NO. 15-50439 - PWB
                                               :
            Debtors.                           :

          ORDER CONVERTING CASES TO CASES UNDER CHAPTER 7 AND
         TERMINATING AND SEVERING JOINT ADMINISTRATION OF CASES

            On November 4, 2015, S. Gregory Hays, as Chapter 11 Trustee (“Trustee Hays”) for the

bankruptcy estate (the “Superior Estate”) of HP/Superior, Inc. (“Superior”), filed a Motion to

Convert Case to a Case under Chapter 7, Terminate Joint Administration and Sever Cases, and

Request for Expedited Hearing [Doc. No. 152; Case No. 14-71797-PWB] (the “Superior

Motion”) seeking an order converting the bankruptcy case of Superior (Case No. 14-71797-

PWB) (the “Superior Case ”) to a case under Chapter 7 of Title 11 of the United States Code

effective as of November 4, 2015 and terminating the joint administration of the Superior Case




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and the bankruptcy case of Superior Healthcare Investors, Inc. (Case No. 15-50439-PWB) (the

“SHI Case”), effective as of November 4, 2015.

            On November 4, 2015, Cathy L. Scarver, as Chapter 11 Trustee (“Trustee Scarver”) for

the bankruptcy estate (the “SHI Estate”) of Superior Healthcare Investors, Inc. (“SHI”), filed a

Motion to Convert Case to a Case under Chapter 7, Terminate Joint Administration and Sever

Cases, and Request for Expedited Hearing [Doc. No. 27; Case No. 15-50439-PWB] (the “SHI

Motion”) seeking an order converting the SHI Case (Case No. 15-50439-PWB) to a case under

Chapter 7 of Title 11 of the United States Code effective as of November 4, 2015 and

terminating the joint administration of the Superior Case and SHI Case effective as of November

4, 2015..

            On November 6, 2015, the Court entered in the Superior Case an Order and Notice

Regarding Motion to Convert Case to a Case under Chapter 7, Terminate Joint Administration

and Sever Cases, and Request for Expedited Hearing [Doc. No. 156; Case No. 14-71797-PWB]

(the “Superior Order and Notice”), setting the Superior Motion for hearing on November 10,

2015 at 10:30 a.m. (the “Superior Hearing”).

            Counsel for Trustee Hays asserts that he served the Superior Order and Notice on all

requisite parties in interest. [Doc. No. 159; Case No. 14-71797-PWB].

            On November 6, 2015, the Court entered in the SHI Case an Order and Notice Regarding

Motion to Convert Case to a Case under Chapter 7, Terminate Joint Administration and Sever

Cases, and Request for Expedited Hearing [Doc. No. 29; Case No. 15-50439-PWB] (the “SHI

Order and Notice”), setting the SHI Motion for hearing on November 10, 2015 at 10:30 a.m. (the

“SHI Hearing”, and collectively with the Superior Hearing the “Hearing”).




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            Counsel for Trustee Scarver asserts that she served the SHI Order and Notice on all

requisite parties in interest. [Doc. Nos. 32 and 33; Case No. 15-50439-PWB].

            No party in interest filed or served an objection to the relief requested in the Superior

Motion or the SHI Motion.

            Counsel for Trustee Hays, counsel for Trustee Scarver, and counsel for the United States

Trustee appeared at the Hearing. No parties in interest appeared at the Hearing to oppose the

relief requested in the Superior Motion or the SHI Motion.

            Accordingly, based on the statements of counsel at the Hearing, and for good cause

shown, it is hereby

            ORDERED that the Superior Motion is GRANTED: the Superior Case is converted to a

case under Chapter 7 effective as of November 4, 2015. The United States Trustee is directed to

appoint a Chapter 7 trustee in the Superior Case (the “Superior Chapter 7 Trustee”). It is further

            ORDERED that the SHI Motion is GRANTED: the SHI Case is converted to a case

under Chapter 7 effective as of November 4, 2015. The United States Trustee is directed to

appoint a Chapter 7 trustee in the SHI Case (the “SHI Chapter 7 Trustee”). It is further

            ORDERED that the joint administration of the Superior Case and the SHI Case is

terminated and the cases are hereby severed. For documents filed in the SHI Case during the

time the cases were jointly administered (January 15, 2015 through November 4, 2015), see Case

No. 14-71797 Doc Nos. 52 through 152. It is further

            ORDERED that:

            1.     Superior and its officers and agents shall, forthwith, turn over to the Superior

Chapter 7 Trustee all records and property of the Superior Estate in their possession or control




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and shall immediately turnover any other property of the Superior Estate which hereinafter

comes into their possession or control during the pendency of the Superior Case;

            2.   Superior and its officers and agents shall cooperate and assist the Superior

Chapter 7 Trustee in identifying, assembling, and collecting property of the Superior Estate and

shall provide the Superior Chapter 7 Trustee with all documents pertaining to assets of the

Superior Estate as the Superior Chapter 7 Trustee requests;

            3.   Superior and its officers and agents shall fully cooperate with the Superior

Chapter 7 Trustee in filing and transmitting to the United States Trustee monthly operating

reports for each month or period through the date of conversion for which reports have not

already been filed; and

            4.   Not later than 28 days after entry of this Order, all professionals employed by

Superior shall file an application for final approval of fees and expenses incurred in or in

connection with administration of the Superior Case under chapter 11 or, alternatively, turn over

to the appointed Superior Chapter 7 Trustee any and all retainers, monies, or other remuneration

received from Superior prior to or after the filing of the petition for services rendered in or in

connection with the Superior chapter 11 case. It is further

            ORDERED that:

            1.   SHI and its officers and agents shall, forthwith, turn over to the SHI Chapter 7

Trustee all records and property of the SHI Estate in their possession or control and shall

immediately turnover any other property of the SHI Estate which hereinafter comes into their

possession or control during the pendency of the SHI Case;

            2.   SHI and its officers and agents shall cooperate and assist the SHI Chapter 7

Trustee in identifying, assembling, and collecting property of the SHI Estate and shall provide



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the SHI Chapter 7 Trustee with all documents pertaining to assets of the SHI Estate as the SHI

Chapter 7 Trustee requests;

            3.    SHI and its officers and agents shall fully cooperate with the SHI Chapter 7

Trustee in filing and transmitting to the United States Trustee monthly operating reports for each

month or period through the date of conversion for which reports have not already been filed;

and

            4.    Not later than 28 days after entry of this Order, all professionals employed by SHI

shall file an application for final approval of fees and expenses incurred in or in connection with

administration of the SHI Case under chapter 11 or, alternatively, turn over to the appointed SHI

Chapter 7 Trustee any and all retainers, monies, or other remuneration received from SHI prior

to or after the filing of the petition for services rendered in or in connection with the SHI chapter

11 case. It is further

            ORDERED that if the United States Trustee appoints Cathy L. Scarver as Chapter 7

Trustee in the SHI Case:

            1.    The order authorizing Trustee Scarver to appoint and employ C. L. Scarver &

Associates, LLC as counsel in the SHI Chapter 11 case will continue in effect for the

employment of C. L. Scarver & Associates, LLC as counsel for Cathy L. Scarver as the SHI

Chapter 7 Trustee without the need for further application and order; and

            2.    Trustee Scarver shall be relieved from filing reports pursuant to FRBP Rule

1019(5). It is further

            ORDERED that if the United States Trustee appoints S. Gregory Hays as Chapter 7

Trustee in the Superior Case:




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            1.   The order authorizing Trustee Hays to appoint and employ Arnall Golden

Gregory LLP as counsel in the Superior Chapter 11 case will continue in effect for the

employment of Arnall Golden Gregory LLP as counsel for S. Gregory Hays as the Superior

Chapter 7 Trustee without the need for further application and order;

            2.   The order authorizing Trustee Hays to appoint and employ Hays Financial

Consulting, LLC as accountants in the Superior Chapter 11 case will continue in effect for the

employment of Hays Financial Consulting, LLC as accountants for S. Gregory Hays as the

Superior Chapter 7 Trustee without the need for further application and order; and

            3.   Trustee Hays shall be relieved from filing reports pursuant to FRBP Rule 1019(5).

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee Hays

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Reviewed and approved by:

C.L. SCARVER & ASSOCIATES, LLC
Attorneys for Trustee Scarver

By:/s/ Cathy L. Scarver                (With Express Permission by Michael J. Bargar)
   Cathy L. Scarver
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GUY G. GEBHARDT
ACTING UNITED STATES TRUSTEE
REGION 21

By: /s/ David S. Weidenbaum         (With Express Permission by Michael J. Bargar)
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    Georgia Bar No. 745892
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United States Department of Justice
Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, S.W.
Atlanta, Georgia 30303
(404)-331-4437

Identification of parties to be served:

All entities listed on the mailing matrix in the Superior Case or SHI Case




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